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                     1    MORGAN, LEWIS & BOCKIUS LLP
                          Richard W. Esterkin, SBN 70769
                     2    richard.esterkin@morganlewis.com
                          300 S Grand Ave Fl 22
                     3    Los Angeles CA 90071-3132
                          Tel: (213) 612-2500
                     4    Fax: (213) 612-2501

                     5    Attorneys for
                          Amazon Logistics, Inc.
                     6

                     7

                     8                                 UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12    In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13             SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB
                    14                                                                Chapter 11
                                           Debtors and Debtors in
                    15                     Possession.            NOTICE OF ERRATA TO CORRECT
                                                                  CAPTIONS IN RE: THE APPLICATION
                    16    _______________________________________ FOR PRO HAC VICE ADMISSION OF
                                                                  NON-RESIDENT ATTORNEY A. KLAIR
                    17    Affects:                                FITZPATRICK
                          ■ All Debtors
                    18    □ Scoobeez, ONLY                        Judge: The Hon. Julia W. Brand
                          □ Scoobeez Global, Inc., ONLY
                    19    □ Scoobur LLC, ONLY
                    20

                    21             Please take notice the following documents were filed with incorrect captions:

                    22                Application of Non-Resident Attorney to Appear in a Specific Case [LBR 2090-1(b)]

                    23                 [Docket No. 492]

                    24                Order on Application of Non-Resident Attorney to Appear in a Specific Case

                    25                 [LBR 2090-1(b)] [Docket No. 492-1]

                    26

                    27    1
                            The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                          Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                    28    Boulevard, in Glendale, California 91214.
MORGAN, LEWIS &
 BOCKIUS LLP                                                                     -1-
 ATTORNEYS AT LAW
                         DB2/ 37983019.1
   COSTA MESA
                Case 2:19-bk-14989-WB             Doc 507 Filed 12/19/19 Entered 12/19/19 11:08:21               Desc
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                     1                    Proof of Service of Application of Non-Resident Attorney to Appear in a Specific

                     2                     Case [LBR 2090-1(b)], and [Proposed] Order Thereon [Docket No. 493]

                     3             The corrected captions are attached to this notice.

                     4

                     5    Dated: December 17, 2019                            MORGAN, LEWIS & BOCKIUS LLP
                     6

                     7                                                         By: /s/ Richard W. Esterkin
                                                                                   Richard W. Esterkin
                     8
                                                                                    Attorneys for Amazon Logistics, Inc.
                     9
                    10

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MORGAN, LEWIS &
 BOCKIUS LLP                                                               -2-
 ATTORNEYS AT LAW
                         DB2/ 37983019.1
   COSTA MESA
                  Case 2:19-bk-14989-WB           Doc 507 Filed 12/19/19 Entered 12/19/19 11:08:21                  Desc
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                     1                                  CERTIFICATE       OF SERVICE FORM

                    2                                       FOR ELECTRONIC FILINGS

                    3              I hereby certify that on December 19, 2019, I electronically filed the foregoing document,

                    4    Notice of Errata to Correct Captions in re: the Application for Pro Hac Vice Admission of

                     5   Non-Resident Attorney A. Klair Fitzpatrick, with the Clerk of the United States Bankruptcy

                     6   Court, Central District of California, Los Angeles Division, using the CMlECF system, which

                     7   will send notification of such filing to those parties registered to receive notice on this matter.

                     8

                     9
                                                                                 Renee Robles
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MORGAN, LEWIS &
  BocKlusLLP                                                               -3-
 ATIORNEYS AT LAW
                         DB2/37983019.1
   Ca., .••Me;A
             Case 2:19-bk-14989-WB                     Doc 507 Filed 12/19/19 Entered 12/19/19 11:08:21                                               Desc
                                                        Main Document    Page 4 of 10

    Attorney or Party Name, Address, Telephone & FAX                                FOR COURT USE ONLY
    Nos., State Bar No. & Email Address

    Richard W. Esterkin, California State Bar No. 70769
    Morgan Lewis & Bockius LLP
    300 S Grand Ave Fl 22
    Los Angeles CA 90071-3132
    Tel: (213) 612-2500
    Fax: (213) 612-2501
    richard.esterkin@morganlewis.com




    Attorney for: Amazon Logistics, Inc.

                                          UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

    In re:
                                                                                    CASE NO.: 2:19-bk-14989-WB [Jointly administered with 2:19-bk-
                                                                                                                                14991-WB and 2:19-bk 14997-WB]
                                      1
             SCOOBEEZ, et al.,                                                      ADVERSARY NO.:
                                                                                    CHAPTER: 11
Affects:
! All Debtors
" Scoobeez, ONLY
" Scoobeez Global, Inc., ONLY
" Scoobur LLC, ONLY
                                                                   Debtor(s).


                                                                                               APPLICATION OF NON-RESIDENT
                                                                                                 ATTORNEY TO APPEAR IN A
                                                                                                SPECIFIC CASE [LBR 2090-1(b)]
                                                                  Plaintiff(s).
                                          vs.




                                                                                                [No hearing required per LBR 2090-1(b)(6)]
                                                              Defendant(s).


1. I, A. Klair Fitzpatrick                                                                             , apply to the
   court under LBR 2090-1(b) for permission to appear and participate in the above-entitled action on behalf of the
   following named party, by whom I have been retained (specify name of party):
   Amazon Logistics, Inc.


2. I have paid the required fee specified in LBR 2090-1(b)(5) to the United States District Court and have attached a
   copy of the receipt.


1 The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc. (9779); and,
Scoobur, LLC (0343). The Debtors! address is 3463 Foothill Boulevard, in Glendale, California 91214.
              This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

June 2016                                                                      Page 1                                      F 2090-1.2.APP.NONRES.ATTY
             Case 2:19-bk-14989-WB                   Doc 507 Filed 12/19/19 Entered 12/19/19 11:08:21                                        Desc
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    Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
    Nos., State Bar No. & Email Address

    Richard W. Esterkin, California State Bar No. 70769
    Morgan Lewis & Bockius LLP
    300 S Grand Ave Fl 22
    Los Angeles CA 90071-3132
    Tel: (213) 612-2500
    Fax: (213) 612-2501
    richard.esterkin@morganlewis.com

        Attorney for: Amazon Logistics, Inc.

                                            UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA –LOS ANGELES DIVISION

    In re:                                                                      CASE NO.: 2:19-bk-14989-WB [Jointly administered with
                                                                                            2:19-bk-14991-WB and 2:19-bk 14997-WB]
                                                                                CHAPTER: 11
              SCOOBEEZ, et al.1
                                                                                ADVERSARY NO.:
                                                                 Debtor(s)
    Affects:
    ■ All Debtors
    □ Scoobeez, ONLY                                                                   ORDER ON APPLICATION OF
    □ Scoobeez Global, Inc., ONLY                                                 NON-RESIDENT ATTORNEY TO APPEAR IN
    □ Scoobur LLC, ONLY                                                              A SPECIFIC CASE [LBR 2090-1(b)]



                                                                 Plaintiff(s)
                                       vs.

                                                                                          [No hearing required per LBR 2090-1(b)(6)]



                                                             Defendant(s)

The court, having reviewed the Application of the non-resident attorney to appear in a specific case under LBR 2090-1(b),
and good cause appearing, orders as follows:

      The Application is granted and the following person may appear as requested in the above-entitled case (specify
      name of applicant): A. Klair Fitzpatrick


      Permission to appear pro hac vice is effective upon payment of the requisite fee to the United States District Court for
      the Central District of California.
                                                             ###




1
  The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: Scoobeez (6339); Scoobeez Global, Inc.
(9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill Boulevard, in Glendale, California 91214.

             This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2016                                                                                                      F 2090-1.2.ORDER.NONRES.ATTY
                Case 2:19-bk-14989-WB                Doc 507 Filed 12/19/19 Entered 12/19/19 11:08:21                           Desc
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                     1    MORGAN, LEWIS & BOCKIUS LLP
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                     3    Los Angeles CA 90071-3132
                          Tel: (213) 612-2500
                     4    Fax: (213) 612-2501

                     5    Attorneys for
                          Amazon Logistics, Inc.
                     6

                     7

                     8                                 UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12    In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13             SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB

                    14                                            Chapter 11
                                        Debtors and Debtors in
                    15                  Possession.               PROOF OF SERVICE APPLICATION OF
                          _______________________________________ NON-RESIDENT ATTORNEY TO
                    16                                            APPEAR IN A SPECIFIC CASE
                          Affects:                                [LBR 2090-1(b)], AND [PROPOSED]
                    17    ■ All Debtors                           ORDER THEREON
                          □ Scoobeez, ONLY
                    18    □ Scoobeez Global, Inc., ONLY           [No hearing required]
                          □ Scoobur LLC, ONLY
                    19                                            Judge: The Hon. Julia W. Brand
                    20

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                          1
                            The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                    27    Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                          Boulevard, in Glendale, California 91214.
                    28
                                                                                 -1-
MORGAN, LEWIS &
 BOCKIUS LLP             DB2/ 37932878.1
 ATTORNEYS AT LAW
   COSTA MESA
     Case 2:19-bk-14989-WB                        Doc 507 Filed 12/19/19 Entered 12/19/19 11:08:21                                            Desc
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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius, LLP
 300 S Grand Ave F122, Los Angeles CA 90071-3132

A true and correct copy of the foregoing document entitled (specify): Notice of Errata to Correct Captions in re: the
Application for Pro Hac Vice Admission of Non-Resident Attorney A. Klair Fitzpatrick


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 12/19/2019        , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 See Service List, Attached.



                                                                                        ~    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 12/19/2019           , I served the following persons andlor entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Conway MacKenZie, Inc.           Daimler Trust                    Levene Neale Bender Yoo & Brill LLP
   333 SHope St Ste 3625            clo BK Servicing LLC            10250 Constellation Blvd Ste 1700
   Los Angeles CA 90071             PO Box 131265                    Los Angeles CA 90067
                                    Roseville MN 55113-0011

                                                                                        o     Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 12/19/2019           , I served
the following persons andlor entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission andlor email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

 The Hon. Julia W. Brand, Suite 1382
 U.S. Bankruptcy Court, Roybal Federal Building
 255 E Temple St, Los Angeles CA 90012

                                                                                        o     Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

12/19/2019         Renee Robles                                                                       ~~
 Date                      Printed Name                                                           Signature



            This form is mandatory.   It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                             F 9013-3.1.PROOF .SERVICE
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2:19-bk-14989-WB Service List:

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richard.esterkin@morganlewis.com

John-Patrick M Fritz on behalf of Attorney Official Committee Of
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JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Creditor Committee Official Committee of
Unsecured Creditors jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Interested Party Levene, Neale, Bender,
Yoo & Brill L.L.P. jpf@lnbyb.com, JPF.LNBYB@ecf. inforuptcy.com

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and Scoobeez Global, Inc.

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David Brian Lally on behalf of Attorney Peter and Barbara Ro Trustees of the Rosenthal Family
Trust UTD

3/25/1988

davidlallylaw@gmail.com

Alvin Mar on behalf of U.S. Trustee United States Trustee (LA)
alvin.mar@usdoj.gov, dare.law@usdoj.gov

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sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

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amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

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smiller@tharpe-howell.com

Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc. dba Bentley
Financial Services smiller@tharpe-howell.com

Stacey A Miller on behalf of Creditor Porsche Leasing Ltd.
smiller@tharpe-howell.com

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Shane J Moses on behalf of Plaintiff Scoobeez, Inc.
smoses@foley.com

Akop J Nalbandyan on behalf of Creditor Roy Anthony Catellanos
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Akop J Nalbandyan on behalf of Interested Party INTERESTED PARTY
jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com

Rejoy Nalkara on behalf of Creditor BMW Financial Services NA, LLC, c/o AIS
Portfolio Services, LP rejoy.nalkara@americaninfosource.com

Anthony J Napolitano on behalf of Creditor Hillair Capital Management LLC
anapolitano@buchalter.com,
IFS_filing@buchalter.com;salarcon@buchalter.com

David L. Neale on behalf of Attorney Official Committee Of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Creditor Committee Official Committee of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill
L.L.P. dln@lnbyb.com

Aram Ordubegian on behalf of Interested Party Courtesy NEF
ordubegian.aram@arentfox.com
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Hamid R Rafatjoo on behalf of Creditor Shahan Ohanessian
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bclark@raineslaw.com;cwilliams@raineslaw.com

Gregory M Salvato on behalf of Creditor Azad Baban

gsalvato@salvatolawoffices.com,

calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf. inforuptcy.com

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calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf. inforuptcy.com

Jeffrey S Shinbrot on behalf of Creditor Shahan Ohanessian
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Steven M Spector on behalf of Creditor Hillair Capital Management LLC
sspector@buchalter.com,
IFS_efiling@buchalter.com;salarcon@buchalter.com

United States Trustee (LA)
ustpregion16.1a.ecf@usdoj.gov

Kimberly Walsh on behalf of Creditor Texas Comptroller of Public
Accounts bk-kwalsh@texasattorneygeneral.gov

Eric D Winston on behalf of Creditor Hillair Capital Management, LLC
ericwinston@quinnemanuel.com

Eric K Yaeckel on behalf of Creditor Arturo Vega
yaeckel@sullivanlawgroupapc.com

2:19-bk-14989-WB Notice will not be electronically mailed to:


Armory Securities, LLC

Conway MacKenzie, Inc.
333 S Hope St Ste 3625
Los Angeles, CA 90071

Daimler Trust
c/o BK Servicing, LLC
PO Box 131265
Roseville, MN 55113-0011

Force Ten Partners, LLC

Levene Neale Bender Yoo & Brill LLP
10250 Constellation Blvd Ste 1700
Los Angeles, CA 90067
